                                          1
                                          2
                                          3
                                                                                                         JS-6
                                          4
                                          5
                                          6
                                          7
                                          8                            UNITED STATES DISTRICT COURT
                                          9                       CENTRAL DISTRICT OF CALIFORNIA
                                          10
R OBINS K APLAN LLP




                                          11   Billion Motors, Inc.,                 Case No. 8:19-cv-00945 SVW (JCx)
            A TTORNEYS A T L AW




                                          12                   Plaintiff,            JUDGMENT
                          L OS A NGELES




                                          13   v.
                                          14   5 Star Auto Group, Damian
                                               McLawhorn, and Rogelio Lopez,
                                          15
                                                               Defendants.
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                                                                   -i-                 [PROPOSED] JUDGMENT
                                          1          WHEREAS, Plaintiff Billion Motors, Inc. moved for an order to show cause
                                          2    regarding Defendants’ contempt of the Court’s Injunction Order, and for an award
                                          3    of its attorney fees, on September 14, 2020;
                                          4          WHEREAS, the Court granted Plaintiff’s motion on October 22, 2020, and
                                          5    instructed Plaintiff to file a formal motion for attorney fees with supporting
                                          6    documentation;
                                          7          WHEREAS, Plaintiff moved for an award of its attorney fees on November
                                          8    20, 2020;
                                          9          WHEREAS, on December 17, 2020, the Court granted in part Plaintiff’s
                                          10   motion for an award of its attorney fees, awarding Plaintiff fees in the amount of
R OBINS K APLAN LLP




                                          11   $49,129.50.
            A TTORNEYS A T L AW




                                          12
                          L OS A NGELES




                                          13   IT IS HEREBY ORDERED, ADJUDICATED AND DECREED THAT:
                                          14      1. Judgment is entered in favor of Plaintiff in the amount of $49,129.50; and
                                          15      2. Post-judgment interest is awarded in favor of Plaintiff pursuant to 28 U.S.C.
                                          16   § 1961. Interest will be calculated from the date of this judgment “at a rate equal to
                                          17   the weekly average 1–year constant maturity Treasury yield, as published by the
                                          18   Board of Governors of the Federal Reserve System, for the calendar week
                                          19   preceding the date of the judgment.” 28 U.S.C. § 1961.
                                          20
                                          21         IT IS ORDERED AND ADJUDGED THAT THE ABOVE JUDGMENT
                                          22   BE ENTERED BY THE CLERK.
                                          23
                                          24   Dated: January 4, 2021                 ____________________________
                                          25                                          United States District Court Judge
                                                                                      Honorable Stephen v. Wilson
                                          26
                                          27
                                          28

                                                                                       -1-                       [PROPOSED] JUDGMENT
